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                 UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF FLORIDA

                    CASE NO.: 07-22406 CIV-JORDAN

                   MAGISTRATE CHRIS M. MCALILEY


  PATRICIA GIOIA AND JOHN GIOIA,

               Plaintiffs,
  vs.

  ROBERT BOCKWEG, Individually,
  and as beneficial owner of
  InPac AG Corporation, PIETER A. BOCKWEG,
  InPac AG Corporation, and JEFFREY E. LEHRMAN

                Defendants.
                                               /


    PIETER A. BOCKWEG'S UNOPPOSED MOTION TO AUTHORIZE
         THE DEPOSITION OF PLANTIFFS' EXPERT AFTER
         THE SEPTEMBER 26. 2008 DISCOVERY DEADLINE

                              INTRODUCTION

         Pieter A. Bockweg, through the undersigned counsel,

   respectfully moves this Court to enter an order authorizing Pieter A.

   Bockweg to depose Plaintiffs' expert in this matter after the discovery

   deadline of September 26, 2008.

                               BACKGROUND

         On September 13, 2007, Plaintiffs Patricia and John Gioia

   (hereafter referred to as Plaintiffs) filed this action against Defendants
   Robert Bockweg, individually and as beneficial owner of InPac AG
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  Corporation, Pieter A. Bockweg, InPac AG Corporation, and Jeffrey E.

  Lehrman, in the United States District Court for the Southern District

  of Florida. Pl.'s CompL., Sep. 13, 2007 (D.E. #1). Plaintiff Pieter A.

  Bockweg appeared pro se in this matter until August 22, 2008 when
  the undersigned counsel entered an appearance on his behalf. Notice

  of Appearance by Bruce Alan Weil on behalf of Pieter A. Bockweg, Aug.

  26, 2008 (D.E. #62). Since retaining counsel, Pieter A. Bockweg has

  sought to prepare this matter for trial and has propounded discovery, i


  responses to which are due on September 25, 2008, the day before the

  discovery deadline. Am. Scheduling Order, Jul. 15, 2008 (D.E. #55).

          Indeed, Pieter A. Bockweg requested to depose Plaintiffs' expert

  in this matter prior to the September discovery deadline, however,

  Plaintiffs' expert is only available on September 25, 2008, the day
  before the discovery deadline. Correspondence from PIs.' Counsel

  Agreeing to Deposition of Plaintiffs Expert after the September 26,
   2008 Discovery Deadline, Sep. 10,2008 (attached as Exhibit A).

          To require Pieter A. Bockweg to depose Plaintiffs' expert on
   September 25, 2008, the same day that Plaintiffs' responses to

   discovery are due, does not provide sufficient time for counsel to review

   Plaintiffs' responses in preparation for the deposition of Plaintiffs'

   expert-assuming that Plaintiffs' answers are not deficient-and

   1 On August 22, 2008, Pieter A. Bockweg propounded his First Request for
   Production, First Set of Interrogatories, First Request for Admissions and First Set of
   Expert Interrogatories to each Plaintiff.

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   certainly does not allow defense counsel to address any deficiencies in

   Plaintiffs' responses before the deposition of Plaintiffs expert.

         Plaintiffs, through counsel, have agreed to make Plaintiffs'

   expert available for deposition after the discovery deadline on

   September 29, 2008. Correspondence from PIs.' Counsel Agreeing to

   Deposition of Plaintiffs Expert after the September 26, 2008 Discovery

   Deadline, Sep. 10, 2008.


         WHEREFORE, Pieter A. Bockweg respectfully requests that the

   Court enter an Order Authorizing Pieter A. Bockweg's to depose

   Plaintiffs' expert after the September 26, 2008 discovery deadline per

   the agreement of counseL.



   Dated: September 11, 2008

                               Respectfully submitted,


                               sf Bruce A. Weil
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                                               CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the
   foregoing document was sent via email and                     U.S.   Mail   on the 11th day of


   September 2008 to all counsels and the co-defendant listed below:

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